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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                   CENTRAL DIVISION

UNITED STATES OF AMERICA                                     PLAINTIFF

v.                         No. 4:22-cr-38-DPM

YNOHTNA W. CARROLL and
CLAYVEON HOWARD                                         DEFENDANTS

         GENERAL CRIMINAL SCHEDULING ORDER

     The Court orders the following schedule to move this case
forward fairly and efficiently to a prompt resolution.

      Thirty Days Before Trial Date—File a Joint Report answering
        these questions:

          o Is this case ready for trial or a plea?

          o If trial-ready, how many six-hour days are needed?

          o If a party intends to seek a continuance, how long a delay
            will be requested and why?

      Twenty-One Days Before Trial Date

          o In trial-ready cases:

                1.    File any pre-trial motions. A response to any
                      motion is due seven calendar days after the
                      motion is filed; and
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                  2.    File notice of submitting proposed jury
                        instructions to chambers. Focus on and submit
                        only elements instructions, citing models and
                        authority; the Court will use standard
                        introductory and closing instructions.

             o In cases that are not trial-ready or where a guilty plea
               will be offered, do one of two things:

                  1.   Get a plea date set with chambers and submit the
                       proposed plea agreement to chambers; or

                  2.   File a motion for continuance.

      So Ordered.


                                   __________________________
                                   D.P. Marshall Jr.
                                   United States District Judge

                                   17 March 2022




April 2021                           2
